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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

PEDRO RAMIREZ, JR.,                       §
Individually and on Behalf of All         §
Others Similarly Situated,                §
                                          §
              Plaintiff,                  §
                                          §
v.                                        §        Civil Action No. 3:16-CV-3111-K
                                          §
EXXON MOBIL CORPORATION,                  §
REX W. TILLERSON, ANDREW P.               §
SWIGER, JEFFREY J. WOODBURY,              §
and DAVID S. ROSENTHAL,                   §
                                          §
              Defendants.                 §

                                       ORDER

        Before the Court is Defendants’ Motion for Reconsideration of Order Partially

Denying Motion to Dismiss or, Alternatively, to Certify for 28 U.S.C. § 1292(b)

Interlocutory Appeal and Brief in Support (Doc. No. 69). After carefully considering

the motion, response, reply, record, and applicable law, the Court DENIES

Defendants’ motion for reconsideration.




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      The Court further DENIES Defendants’ motion for the Court to certify the

order partially denying the motion to dismiss for interlocutory appeal under 28 U.S.C.

§ 1292(b) (2012).

      SO ORDERED.

      Signed November 5th, 2018.

                                              ____________________________________
                                              ED KINKEADE
                                              UNITED STATES DISTRICT JUDGE




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